Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 1 of 12 Page ID
                                  #:334


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                                                                         Exhibit 7
                                                                         Page 152
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 2 of 12 Page ID
                                  #:335



                    DECLARATION OF LORILEI ALICIA WILLIAMS


       I, Lorilei Alicia Williams, declare and say as follows:

       1. I am an attorney licensed to practice in the states of Texas and New York.

I joined Staten Island Legal Services, part of Legal Services NYC, in January 2016

as the Immigration Unit Director.

       2. From September 2012 until April 2014, I worked as a staff attorney in the

 unaccompanied minors program of the St. Frances Cabrini Center for Immigration

Legal Assistance at Catholic Charities of the Archdiocese of Houston-Galveston.

In the course of my practice I regularly represented unaccompanied juveniles

detained pursuant to the Immigration and Nationality Act (INA) and housed by the

Office of Refugee Resettlement of the Department of Health and Human Services

(ORR) at the following detention facilities: Southwest Key Conroe, Shiloh,

 Southwest Key Casa Houston, Southwest Key Mesa, Baptist Children and Family

 Services Baytown, Catholic Charities St. Michael's, and the Children's Center in

Galveston.

       3. From May 2014 until January 2016, I worked as a staff attorney in the

unaccompanied minors program of Catholic Charities Community Services of the

Archdiocese of New York. During this period I regularly represented

 unaccompanied juveniles detained ORR detained at the following facilities:

MercyFirst, the Children's Village, Cayuga Centers, Abbott House, Leake and


                                                                                    Exhibit 7
                                                                                    Page 153
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 3 of 12 Page ID
                                  #:336



 Watts, New York Foundling, the Children's Home of Poughkeepsie, the Children's

 Home of Kingston, Lincoln Hall, and Cardinal McClosky, among others.

       4. My representation included assisting detained juveniles contest removal,

 seek affirmative immigration benefits such as asylum and special immigrant

 juvenile status, as well as seeking their release to parents or other custodians and

 advocating for their placement in the least restrictive setting. I have accordingly

 had regular occasion to observe, and am intimately familiar with, ORR's policies

 and practices, as well as those of United States Immigration and Customs

 Enforcement (ICE), toward the detention, release, and treatment of juveniles. I am

 also familiar with how those policies and practices have changed over time.

       5. In the Houston area, Southwest Key Mesa was primarily a shelter-level

 facility, although it did have staff-secure beds. Shiloh was primarily a residential

 treatment center, although for some time it also had staff-secure beds. In New

 York, the Children's Village was primarily a shelter-level facility with two cottages

 dedicated to staff-secure beds. MercyFirst has both shelter-level beds and

 residential treatment center beds.

       6. Children are placed in staff-secure beds if ORR determines that they

 require a higher level of supervision than the general population of detained

 immigrant and refugee youth. Staff-secure placement is more restrictive than

 shelter placement or placement in transitional foster care. In all aforementioned
                                          -2-

                                                                                       Exhibit 7
                                                                                       Page 154
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 4 of 12 Page ID
                                  #:337



 facilities, I observed that children placed in staff-secure beds oftentimes remained

 at staff-secure level for several months. In a few cases, ORR released such

 children to sponsors or transferred them directly to a less secure long-term

 placement (such as ORR-funded long-term foster care or the Unaccompanied

 Refugee Minors (URM) program). In most cases, however, ORR required that the

 child earn the right to be "stepped-down" from staff-secure level to shelter level

 before it would release the child or transfer him or her to a long-term placement. It

 was common to see children detained for six months or longer in staff-secure

 placements.

       7. ORR places children at residential treatment centers (RTCs) when it

 believes they need psychological or medical intervention. Most children I worked

 with at RTCs suffered from post-traumatic stress disorder. Many had thoughts of

 self-harm or suicide, or had experienced psychotic episodes. (A few had no

 extraordinary psychological needs, but had heightened medical conditions such as

 deafness, muteness, autism, or epilepsy.) Many children suffering from PTSD or

 other psychological trauma also had alleged criminal history closely associated

 with such trauma. Similar to staff-secure children, ORR would sometimes release

 R TC children directly from R TC, but most often would refuse to release them until

 they had first stepped down to a less secure placement. In both staff-secure and

 R TC placements, children suffered greater restrictions on their liberties, such as
                                          -3-

                                                                                       Exhibit 7
                                                                                       Page 155
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 5 of 12 Page ID
                                  #:338



 being denied permission to leave the facility to attend school or recreational

activities. In my experience, children in staff-secure or R TC placements also

reported shelter abuses more frequently, such as excessive use of force when

restraining a child, threatening children with removal, and general hostility towards

the children.

       8. I am informed and believe that the Flores settlement and§ 235(c)((2) of

the 2008 Trafficking Victims Protection Act (TVPRA) require ORR to place

detained juveniles in the least restrictive setting that is in the best interests of the

child. I am further informed and believe that the Flores settlement and the TVPRA

require ORR to minimize the detention of juveniles by releasing them to their

parents and other reputable custodians except where a particular minor is an

extraordinary flight-risk or to ensure his or her safety or the safety of others. I am

further informed and believe that the Flores settlement guarantees juveniles whom

ORR refuses to release notice and a meaningful opportunity to be heard regarding

the grounds for continuing to detain them. In my opinion, ORR is clearly in breach

of these requirements: ORR is needlessly extending the juveniles' time in

detention, placement in staff-secure beds and R TCs, and it affords detained youth

little or no opportunity to examine or contest the grounds for continuing to detain

them or house them in restrictive settings. The following examples illustrate

ORR' s policies and practices.
                                           -4-

                                                                                           Exhibit 7
                                                                                           Page 156
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 6 of 12 Page ID
                                  #:339



       9. Alan Yair Cruz Mar, a 16-year-old born in Mexico, A 205 907 243, was

 detained by Customs and Border Protection (CBP) on August 24, 2015. Alan's

 father is a U.S. citizen who recognized his paternity over Alan and agreed to

 provide him with financial support until he turns 18, thereby making Alan a

 derivative U.S. citizen effective the date of his birth. A derivative citizen does not

need to apply for citizenship: he or she is a citizen at birth. Alan did not know that

he had this claim to citizenship until I met with him and also spoke with his father.

       10. On November 6, 2015, I informed ORR and ICE that Alan was a U.S.

citizen and therefore not subject to detention under the INA. ICE's Enforcement

and Removal Operations (ERO) unit terminated removal proceedings against Alan

during the fourth week of November because of his probative claim to U.S.

citizenship and, advised ORR regarding his U.S. citizenship claim. ORR

nevertheless continued to detain him for months without affording him any

meaningful opportunity contest such detention and despite my best efforts to have

him released to his father.

       11. In an effort to have Alan released to his father, I reached out multiple

times via telephone and email to David Fink, ORR's Federal Field Specialist (FPS)

 supervisor, and James "Jim" de la Cruz, also an FPS supervisor, both out of

 Washington, D.C. On multiple occasions, they simply refused to respond to

 inquiries regarding why Alan was being detained in lieu of release to his father. A
                                          -5-

                                                                                      Exhibit 7
                                                                                      Page 157
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 7 of 12 Page ID
                                  #:340



local FPS, Karla Mansilla, instructed me to bring up the question with ORR's legal

counsel, but when I asked for their counsel's contact information, she refused to

give it to me. (I considered filing a petition for habeas corpus contesting Alan's

continued detention, but as explained below, I was then funded by the Vera

Institute pursuant to a contract with ORR; both ORR and Vera Institute informally

discourage Vera-funded lawyers from taking any legal action against ORR lest

they cut off funds entirely for assisting unaccompanied minors.)

       12. I successfully had Alan's removal proceedings terminated in immigration

court in mid-January 2016, but it took more than a week for ORR to release Alan

to his grandmother. At no time did ORR provide Alan, his father, his

grandmother, or me any written explanation of its reasons for continuing to detain

him. At no time did ORR present Alan for a bond redetermination hearing. At no

time did ORR disclose to Alan, his father, his grandmother, or to me the evidence

supporting its decision to continue Alan in detention. At no time did ORR grant

Alan, his father, or his grandmother a hearing regarding the grounds for continuing

to detain Alan. The most ORR could muster was to advise me informally that they

did not want release Alan because they were concerned about his father's criminal

history.

       13. Another of my clients who suffered needless detention was William

Alberto Alvarez Argaeta, A 205 298 892, from El Salvador. (William recently
                                        -6-

                                                                                     Exhibit 7
                                                                                     Page 158
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 8 of 12 Page ID
                                  #:341



passed away at the age of 14 in a fishing accident.) CBP apprehended William on

December 26, 2011, when he was nine years old. ORR first detained William at

the IES Harlingen Foster Program, and then at the Children's Center in Galveston,

Texas. On January 4, 2012, ORR transferred him to Shiloh RTC. William was

diagnosed with Attention-Deficit/Hyperactivity Disorder, Combined Type;

Posttraumatic Stress Disorder; and, Bipolar I Disorder, with episodes that have

been mixed, severe with psychotic features.

      14. William's psychological difficulties stemmed from a long and tragic

history of sexual abuse in El Salvador. He had been abandoned by extended

family with whom his parents had left him, and for at least a year he lived alone,

homeless, and defenseless on the streets of El Salvador; he was eight years old and

easy prey for sexual predators. William's parents eventually managed to find him

and arranged to have him brought to Dallas, Texas, where they lived.

      15. I began representing William in October 2012. On numerous occasions

he was uncooperative and exhibited clear indicia of mental illness. During this

initial period of detention, William had no next-friend or child advocate, so I

undertook to advocate for release to his parents. Being reunified with his parents

was William's only clear wish, and I believed his parents would speak for him

during removal proceedings. ORR refused to release William. As was the case

with Alan, the agency refused to provide any written explanation of why a child of
                                        -7-

                                                                                     Exhibit 7
                                                                                     Page 159
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 9 of 12 Page ID
                                  #:342



such tender age and suffering from such trauma needed to be detained for more

than a year when his parents were ready, willing and able to care from him and

lived only a few hours away. Again, at no time did ORR present William for a

bond redetermination hearing. At no time did ORR disclose to William's parents or

to me the evidence supporting its decision to continue William in detention. At no

time did ORR grant William or his parents any hearing regarding its reasons for

continuing to detain their nine year old child.

      16. ORR also appears to have done its best to insulate its decisions to

continue children in detention from judicial review. When I discussed William's

plight with my supervisors at Catholic Charities Houston, I was told explicitly that

we could not take legal action against ORR because our Vera Institute funding to

help detained children would be at risk. I determined, then, that my only recourse

was to attempt to terminate William's removal proceedings on the basis of his

incompetency. In January 2013, I submitted a motion to the immigration court. I

also reached out to ORR and asked them if William's psychiatrist and clinician

would be able to testify in court as to William's competency. I believe an

individual hearing date was either for April or June 2013, but I do not recall the

exact date. Some time prior to the competency hearing, ORR suddenly and without

explanation released William to his parents; he had by that time spent almost a

year and a half needlessly detained.
                                         -8-

                                                                                     Exhibit 7
                                                                                     Page 160
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 10 of 12 Page ID
                                   #:343



       17. As the foregoing cases illustrate, in practice I have never known ORR to

 provide any written explanation for its decisions against releasing juveniles from

 staff-secure or R TC detention. In my experience, ORR affords neither detained

 juveniles nor their parents or other proposed custodians any transparent,

 meaningful opportunity to be heard on the matter of children's release, no

 opportunity to see, explain or rebut whatever evidence ORR believes justifies a

 child's continued secure confinement, or any effective way to appeal ORR's

 custody decisions administratively. Although ORR publishes on its website that

 parents may send a letter to the ACF Assistant Secretary appealing the denial, this

 is not communicated clearly to the parents or children. In sum, in denying

 juveniles' release to their parents or other caregivers, ORR provides-

       •      no notice of the reasons for housing them in a staff-secure or R TC

              facility;

       •      no bond redetermination or other hearing on the reasons for

              continuing to detain them;

       •      no written information regarding when or if it will reach a decision on

              whether to detain or release a child;

       •      no written information regarding when or if it will "step down" a child

              from a staff-secure or R TC placement to a non-secure licensed

              placement;
                                           -9-

                                                                                      Exhibit 7
                                                                                      Page 161
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 11 of 12 Page ID
                                   #:344



       •      no explanation of the right of judicial review; and

       18. Although I am not a mental health professional, I have noted the

 deleterious effects ORR's opaque and oft-delayed release and step-down decisions

 have on detained youth. In both Alan's and William's cases, facility staff

 repeatedly encouraged my clients, their parents, and myself to believe that ORR

 would release my clients promptly, whereas in truth and fact the agency delayed its

 decisions for weeks or months, leaving children, their parents, and their lawyer

 twisting in the wind, awaiting a decision from on high that might or might not be

 favorable and that would never be explained other than in the barest of conclusory

 terms. In the face of such extended and faceless uncertainty, detained children-

 already traumatized by horrific experiences in their countries of origin-have

 expressed to me feeling profound helplessness and despair, to the point where they

 are prepared to take extreme measures, including opting for voluntary return to

 countries in which they know their lives and freedom will be in jeopardy, rather

 than continue to live day after day in ORR's detention facilities never knowing if

 or when they will be reunited with their families.

       19. Additionally, although ORR boasts of providing free legal services to

 detained minors, it hobbles free legal service providers who undertake to represent

 detained children. While working for both Catholic Charities in Houston and in

 New York, I was funded by ORR to represent detained unaccompanied minors.
                                         - 10 -

                                                                                     Exhibit 7
                                                                                     Page 162
Case 2:18-cv-05741-DMG-PLA Document 25-10 Filed 08/02/18 Page 12 of 12 Page ID
                                   #:345



  ORR provides such funds pursuant to the TVPRA to the VERA Institute of Justice,

 which then sub-contracts with nonprofit legal service organizations to provide

  direct legal services to ORR detainees, among others.

        20. In cases where ORR insisted upon detaining children for unusually long

 periods of time, pursuing relief in federal court was not an option, so my only

 recourse was to maintain open communication with shelter staff and ORR

 personnel in the hopes that a positive long-term stakeholder relationship would

 work to detained children's benefit. On more than one occasion, shelter staff and I

  strategized together on how to persuade ORR to release a child, but these measures

 were no substitute for a fair and transparent procedure by which detained children

 and their parents could understand and test the government's case for refusing

 release.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 5    day of Aup,1-d:::, 2016, at~~~~~~-'               A4--·




                                          - 11 -

                                                                                     Exhibit 7
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